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 1
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 5

 6   ATTORNEY FOR Defendant,
     Rigoberto Nunez
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                               ******
11   UNITED STATES OF AMERICA,                          Case No.: 2:17-CR-149-TLN-1
12                   Plaintiff,
                                                        STIPULATION AND [PROPOSED]
13          v.                                          ORDER TO MODIFY CONDITIONS OF
14                                                      RELEASE
     Rigoberto Nunez,
15                   Defendant.
16

17   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
18

19          It is hereby stipulated between the United States of America, by and through its

20   representative, James Conolly and the Defendant, Rigoberto Nunez, by and through his attorney

21   of record, Preciliano Martinez that release condition #10 which requires the Defendant to submit
     to drug and/or alcohol testing to stop.
22
            United States Pretrial Services Officer Darryl Walker has advised defense counsel that he
23
     does not oppose the modification of Mr. Nunez’s release conditions to remove the drug testing
24
     condition.
25
            Accordingly, the parties agree and stipulate that Mr. Nunez’s conditions of release should
26
     be modified as follows: The submission of drug and/or alcohol testing to stop.
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                                                    1
                  STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF RELEASE
                                      CASE NO.: 2:17-CR-149-TLN-1
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 1        IT IS SO STIPULATED.

 2                                                  Respectfully submitted,
 3    DATED:       8/12/19                 By: /s/James Conolly
                                               James Conolly
 4                                             Assistant United States Attorney
 5

 6
      DATED:       8/12/19                 By: /s/Preciliano Martinez
 7
                                               Preciliano Martinez
 8                                             Attorney for Defendant Rigoberto Nunez

 9

10
                                                    ORDER
11

12          For reasons set forth above, the Defendant’s conditions of pretrial release shall be
13   modified as follows: The Defendant’s drug and/or alcohol testing to stop shall be discontinued.
14   All other conditions shall remain in effect.

15          IT IS SO ORDERED.

16          Dated: August 12, 2019

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                STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF RELEASE
                                    CASE NO.: 2:17-CR-149-TLN-1
